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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                    19-mc-47-KLM
 Civil Action No. _________________

 In The Matter of

        Establishment Inspection of:

       Folium Biosciences, LLC
       615 Wooten Road
       Suite 110
       Colorado Springs, CO 80915
 ________________________________________________________________________

                       DECLARATION OF DAVID NELSON
 _________________________________________________________________________

        I, David Nelson, hereby depose and state as follows:

        l. I am the Area Director in the Englewood Area Office of the Occupational Safety and
 Health Administration (OSHA), United States Department of Labor, where I am responsible for
 the supervision of occupational safety and health inspections and for the enforcement of safety
 and health standards promulgated under the Occupational Safety and Health Act of 1970 (29
 U.S.C. § 651 et seq.) within the State of Colorado.

         2. Section 8(a) of said Act and 29 C.F.R. § 1903.3 authorize compliance safety and
 health officers of the Department of Labor to enter without delay and at reasonable times any
 factory, plant, establishment, construction site, or other area, workplace or environment where
 work is performed by an employee of an employer; to inspect and investigate during regular
 working hours and at other reasonable times, and within reasonable limits and in a reasonable
 manner, any such place of employment, and all pertinent conditions, structures, machines,
 apparatus, devices, equipment and materials therein; to question privately any employee, owner,
 operator, agent or employer; to take photographs, videotapes, measurements and environmental
 samples; and to review records required by the Act and regulations, and other records which are
 directly related to the purpose of the inspection.

        3. The purpose of such inspections under the Act is to determine whether a specific
 employer is covered by the Act and, if so, whether the employer is in compliance with the
 applicable provisions of the Act, the occupational safety and health standards promulgated under
 the Act and the rules, regulations and orders issued pursuant to the Act.

         4. OSHA’s Englewood Area Office received a complaint from an individual who
 provided his or her name and stated he or she was currently or formerly employed at Folium
 Biosciences, LLC (“Folium”), 615 Wooten Road, Suite 110, Colorado Springs, CO 80915 (the
 “Facility”). The complaint alleged several serious safety hazards and/or violations at the Facility.
  Specifically, the complaint alleges that employees of Folium are exposed to the following unsafe
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 conditions:
               (a) Employees are exposed to fall hazards due to the removal of a railing during
               material hoisting.

               (b) Employees are potentially exposed to overhead hazards but do not wear head
               protection when loading and unloading the KRAKEN CO2 machine.

               (c) Employees are exposed to trip hazards due to uncovered holes, approximately 3-
               inches diameter, in walking-working surfaces.

               (d) Employees are exposed to emergency egress hazards, such as, but not limited to,
               blocked emergency exits, a lack of training on emergency egress routes, a lack of
               posting of emergency exit routes, and emergency exit routes that lead through high-
               hazard areas. These conditions could prevent employees from exiting the facility in a
               safe and expeditious manner in the event of a fire or other emergency.

               (e) Employees are potentially exposed to fire hazards due to the lack of a fire
               prevention plan.

               (f) Employees are exposed to fire and explosion hazards due to a lack of training on
               the handling, storage, and use of compressed gas cylinders.

               (g) Employees are exposed to chemical and fire hazards due to inadequate storage,
               handling, use, and clean-up of flammable liquids, such as hexane.

               (h) Employees are exposed to chemical hazards due to skin contact with chemical
               irritants, such as hexane, because of the absence of a written personal protective
               equipment (“PPE”) assessment and a lack of enforcement of PPE use.

               (i) Employees are exposed to respiratory hazards, such as hexane, because of an
               inadequate respiratory protection program, lack of training on the use, storage, and
               maintenance of respirators, and a lack of adequate respiratory protection suited to the
               hazards of the workplace.

               (j) Employees are exposed to confined space hazards when working in the ROTO
               room.

               (k) Employees are exposed to caught-in, crushing, and struck-by hazards due to the
               unexpected release of hazardous energy because of the lack of a lock-out/tag-out
               program.

               (l) Employees are potentially exposed to chemicals, such as hexane, over the
               permissible exposure limits of those chemicals.

               (m) Employees are exposed to chemical hazards due to the lack of an adequate
               written hazard communication program, including employee training on the hazards

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            of the chemicals with which they work, controls in place to protect employees, and
            the health effects of the chemicals with which they work.

 A redacted copy of the complaint is attached as Exhibit A.

         5. The complaint was processed pursuant to OSHA internal directive CPL 2.103, which
 establishes complaint policies and procedures, as well as the Englewood Area Office’s internal
 complaint procedures. The above mentioned hazards may constitute violations of specific OSHA
 general industry standards, or, alternatively, of 29 U.S.C. § 654(a)(1), which requires employers
 to furnish employment and a place of employment which are free from recognized hazards that
 are likely to cause death or serious physical harm to employees.

         6. On June 3, 2019, Compliance Safety and Health Officer (“CSHO”) Mitch Phillips
 opened the complaint inspection with Folium’s associate general counsel, Ricardo Calzada. Mr.
 Calzada contacted Folium’s general counsel, Craig Brand. Mr. Brand was in Los Angeles,
 California at the time and asked CSHO Phillips to not begin the inspection until he returned from
 Los Angeles. CSHO Phillips explained that he could not wait that long nor could he reschedule
 the inspection. Mr. Brand then refused to allow CSHO Phillips to begin the inspection. Mr.
 Brand asked CSHO Phillips to contact him prior to the CSHO’s returning to the Facility. CSHO
 Phillips explained that he could not do that, either. CSHO Phillips then departed the Facility.

          7. After my own review, and based on my 26 years of experience in the safety and health
 field, I find that the complaint furnishes reasonable grounds to believe that violations of
 mandatory occupational safety and health standards and/or Section 5(a)(1) of the Act exist or
 existed at the workplace. The violations alleged, if true, could result in a serious accident or
 illness causing permanent disability or death.

         8. An administrative inspection warrant is necessary because Folium’s general counsel,
 Craig Brand, required CSHO Phillips to terminate the inspection and leave the Facility on June 3,
 2019. An inspection warrant is necessary to obtain entry into the work site without delay as
 contemplated by the Act. Accordingly, application is hereby made for an administrative
 inspection warrant that would authorize such inspection.

         9. If such inspection is authorized by the Court, it will required no more than ten (10)
 inspection days to complete, will be conducted during regular business hours, and will be
 commenced as soon as practicable after the issuance of the requested warrant.

         10. The inspection will be conducted in a reasonable manner and will include only those
 areas which it is reasonably necessary to inspect in order to adequately evaluate the complaint
 allegations. The inspection will further be limited to pertinent conditions, structures, machines
 and materials therein, and any conditions observed in plain view of such areas, and including
 inspection of only those records that are required by 29 C.F.R. 1904.2 - 1904.7, and such other
 records which are directly related to the purpose of the inspection.




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         11. Said inspection will be conducted by no more than two (2) compliance safety and
 health officers (“CSHOs”) of the Occupational Safety and Health Administration who are
 authorized to conduct inspections and investigations under the Act.

         12. The purpose of the proposed inspection shall be to determine whether the employer is
 subject to OSHA’s jurisdiction and whether the employer is furnishing employment and a place
 of employment which are free from recognized hazards that are causing or are likely to cause
 death or serious physical harm or is complying with the occupational safety and health standards
 promulgated under the Act and the rules, regulations and orders issued pursuant to the Act.

         13. The CSHOs who conduct the inspection will afford an opportunity to representatives
 of Lone Star, and to representatives authorized by its employees, to accompany them for the
 purpose of aiding the inspection, pursuant to § 8(e) of the Act, and shall otherwise comply with
 all regulations applicable to inspections under the Act.

         14. Said CSHOs are authorized under the Act and 29 C.F.R. § 1903.7 to take
 photographs, videotapes and environmental samples, employ other reasonable investigative
 techniques, and to question privately at the worksite, any employer, owner, operator, agent, or
 other employees of the establishment. Such activities will be limited to those necessary to the
 purpose and scope of this inspection and will be accomplished so as to preclude unreasonable
 disruption of the operations of the employer's establishment, as required by 29 C.F.R. §
 1903.7(d).

         15. Any information obtained or observed which the employer identifies as containing or
 revealing trade secrets will be handled as required by Section 15 of the Act (29 U.S.C. § 664),
 and by 29 C.F.R. § 1903.9 and 18 U.S.C. § 1905.

         16. Occupational hazards which violate the Act or applicable regulations may result in
 the issuance of imminent danger notices or civil citations requiring their correction and in the
 imposition of civil penalties under §§ 9, 10, and 13 of the Act.

         17. Within fifteen (15) days after completion of the requested warrant inspection a return
 will be made to the Court showing that the inspection ordered therein has been completed.

 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
 correct to the best of my knowledge and recollection.

        Signed this 3rd day of June 2019.


                                              ___________________________________
                                              David Nelson
                                              Occupational Safety and Health
                                              Administration
                                              U.S. Department of Labor

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                                 EXHIBIT A




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